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                     UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF OKLAHOMA

STATE OF OKLAHOMA et al.,                     )
                                              )
       Plaintiffs,                            )
                                              )
v.                                            )   Case No. CIV-21-1069-G
                                              )
JOSEPH R. BIDEN, JR., in his                  )
official capacity as President of the         )
United States, et al.,                        )
                                              )
       Defendants.                            )

                                         ORDER

       At the status conference held on January 14, 2022, Plaintiffs moved orally for leave

to file a supplemental brief in support of their Motion for Preliminary Injunction (Doc. No.

9) to address the recent United States Supreme Court decisions concerning vaccine

mandates. The motion is GRANTED. Plaintiffs shall file their supplemental brief, not to

exceed ten pages, on or before January 21, 2022. Defendants may file a response brief, not

to exceed ten pages, on or before January 28, 2022.

       IT IS SO ORDERED this 14th day of January, 2022.
